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 8                                  UNITED STATES DISTRICT COURT

 9                                NORTHERN DISTRICT OF CALIFORNIA

10                                           SAN JOSE DIVISION

11   UNITED STATES OF AMERICA,                      ) CV 17-00040-BLF
                                                    )
12           Petitioner,                            )
                                                    ) [Proposed] ORDER TO
13      v.                                          ) SHOW CAUSE RE: CONTEMPT
                                                    )
14   JOSE HERNANDEZ,                                )
                                                    )
15           Respondent                             )
                                                    )
16

17           Good cause having been shown by the United States upon its Application For Entry of Order To

18 Show Cause Re: Contempt, IT IS HEREBY ORDERED THAT respondent Jose Hernandez appear in

19 person before this Court on July 27, 2017, at 9:00 a.m., in Courtroom No. 3, 5th Floor, United States

20 Courthouse, 280 South 1st Street, San Jose, California, and then and there show cause, if he has any,

21 why he should not be held in contempt for his failure to comply with the Order Requiring Respondent to

22 Appear Before Revenue Officer to Give Testimony and Provide Items Described in Summonses filed

23 April 12, 2017.

24           IT IS FURTHER ORDERED that the petitioner serve a copy of this Order to Show Cause Re:

25 Contempt upon said respondent in accordance with Rule 5 of the Federal Rules of Civil Procedure at

26 least thirty-five (35) days before the Show Cause Hearing on July 27, 2017.
27           IT IS FURTHER ORDERED that the respondent may file and serve a written response to the

28 Order To Show Cause Re: Contempt on or before July 6, 2017, supported by appropriate affidavit(s) or



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 1 declaration(s) in conformance with 28 U.S.C. Subsection 1746, as well as any motions he desires to

 2 make. The petitioner may file and serve a written reply to such response, if any, on or before July 13,

 3 2017. All motions and issues raised by the pleadings will be considered at the Show Cause hearing on

 4 July 27, 2017.

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 6      Dated: June 7, 2017

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                                                 UNITED STATES DISTRICT JUDGE
 9                                               Beth Labson Freeman
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